                                               United States Bankruptcy Court
                                                    District of Oregon
In re:                                                                                                     Case No. 14-32100-rld
Todd Michael Spencer                                                                                       Chapter 7
Jill Marie Spencer
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0979-3                  User: batina                       Page 1 of 2                          Date Rcvd: May 30, 2014
                                      Form ID: pdf018                    Total Noticed: 40

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 01, 2014.
db/jdb        +Todd Michael Spencer,     Jill Marie Spencer,    9104 SE Valentine Rd.,
                Happy Valley, OR 97086-3448
100607922      ARS National Services Inc,     POB 463023,    Escondido, CA 92046-3023
100607919     +Access Cap,    Pob 1511,    Visalia, CA 93279-1511
100607920     +AcctCorp Int of Salem,     3700 River Rd North #6,     Salem, OR 97303-5657
100607921      Airgas NorPac,    POB 7427,    Pasadena, CA 91109-7427
100607935      CU Recovery Inc,    26263 Forest Blvd,     Wyoming, MN 55092-8033
100607925     +Cable Huston,    1001 SW Fifth Ave,     Suite 2000,    Portland, OR 97204-1136
100607927     +Caine Weiner,    PO B 5010,    Woodland Hills, CA 91365-5010
100607930     +Chase,   Po Box 15298,     Wilmington, DE 19850-5298
100607931     +Clackamas County Circuit Court,     Case #CV13050818 C,     807 Main St.,
                Oregon City, OR 97045-1848
100607932     +Client Services Inc,     3451 Harry S Truman Bv,     Saint Charles, MO 63301-9816
100607933     +Columbia Collections I,     6915 Se Lake Rd Ste 200,     Milwaukie, OR 97267-2103
100607934      Convergent Outsourcing Inc,     POB 9006,    Renton, WA 98057-9006
100607936     +Dvra Billing,    2701 Loker Av West,     Carlsbad, CA 92010-6638
100607938     +Gary Chapman DDS,    10121 SE Sunnyside Rd,     Ste 330,    Clackamas, OR 97015-5714
100607939     +Green Tree Servicing LLC,     C T Corporation System Reg Agent,     388 State St #420,
                Salem, OR 97301-3581
100607940     +Integrity Solution Svc,     20 Corporate Hills Dr,     Saint Charles, MO 63301-3749
100607942     +Jomax Recovery Services,     14100 N 83rd ave,    Suite 235,    Peoria, AZ 85381-5662
100607943     +KeyBank,    Thomas J Lekan Sr Vice Pres,     127 Public Square,    Cleveland, OH 44114-1226
100607944     +Ocwen Loan Servicing, LLC,     Corporation Service Company,     Registered Agent,
                285 Liberty Street NE,     Salem, OR 97301-3865
100607945     +Pacific Northwest Federal Credit Union,       Thomas Griffith President,    12106 NE Marx,
                Portland, OR 97220-9035
100607946     +Pacific Nw Federal Cr,     12005 Ne Erin Way,    Portland, OR 97220-9030
100607947     +Pinnacle Financial Group,     Dept 673,    POB 4115,    Concord, CA 94524-4115
100607948     +Portfolio Recovery Ass,     120 Corporate Blvd Ste 1,     Norfolk, VA 23502-4962
100607949     +Portland Police Alarms,     POB 1867,    Portland, OR 97207-1867
100607950     +Recology Portland,    9345 NE Whitaker Way,     Portland, OR 97217
100607951     +Residential Credit Solutions, Inc,      Corporation Service Company Reg Agent,    285 Liberty St NE,
                Salem, OR 97301-3865
100607952     +Santander Consumer USA,     8585 N Stemmons Fwy #900,     Dallas, TX 75247-3822
100607953      Sentry Credit Inc,    PO Box 12070,     Everett, WA 98206-2070
100607954      Sunrise Credit Services,     PO Box 9100,    Farmingdale, NY 11735-9100
100607955      Us Bk Rms Cc,    Cb Disputes,    St Louis, MO 63166
100607956     +Verizon,    PO Box 3001,    Inglewood, CA 90304-0001
100607957     +Wolters Kluwer,    7201 McKinney Circle,     Frederick, MD 21704-8356

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
100607923    +E-mail/Text: kiersten@afscollect.com May 31 2014 01:30:52      Atlas Financial Servic,
               Po Box 1180,   Vancouver, WA 98666-1180
100607924    +E-mail/Text: banko@bonncoll.com May 31 2014 01:31:40      Bonneville Billing,
               1186 E 4600 S Ste 100,    Ogden, UT 84403-4896
100607926    +E-mail/Text: ebn@squaretwofinancial.com May 31 2014 01:31:36      Cach, Llc,
               4340 S Monaco St Unit 2,    Denver, CO 80237-3408
100607928    +E-mail/Text: ccci@bendbroadband.com May 31 2014 01:31:30      Cascade Credit Consulting Inc,
               Sheri A Rodgers Reg Agent,    63830 Clausen Drive #200,   Bend, OR 97701-7140
100607929    +E-mail/Text: bankruptcy@cavps.com May 31 2014 01:31:32      Cavalry Portfolio Serv,    Po Box 27288,
               Tempe, AZ 85285-7288
100607937    +E-mail/Text: bknotice@erccollections.com May 31 2014 01:31:21      Enhanced Recovery Co L,
               8014 Bayberry Rd,    Jacksonville, FL 32256-7412
100607941    +E-mail/Text: rion@att.net May 31 2014 01:30:53      J Rion Bourgeois,   7175 SW Beveland Suite 210,
               Portland, OR 97223-8665
                                                                                             TOTAL: 7

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 01, 2014                                            Signature: /s/Joseph Speetjens



                                      Case 14-32100-rld7              Doc 25       Filed 06/01/14
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                             Form ID: pdf018             Total Noticed: 40

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 30, 2014 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0




                              Case 14-32100-rld7       Doc 25     Filed 06/01/14
                                         UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF OREGON

In re                                              )   Case No._______________
                                                                 14-32100-rld7
Todd Michael Spencer                               )
Jill Marie Spencer                                 )   NOTICE OF INTENT TO Sell
                                                   )   Property at Private Sale, Compensate
                                                   )   Real Estate Broker, and/or Pay any
                                                   )   Secured Creditor's Fees and Costs
                                                   )   [NOTE: DO NOT use to sell personally
Debtor(s)                                          )    identifiable information about individuals!]

1. An offer has been received by the trustee from ______________________________________,
                                                  RenX Group, LLC ("Buyer")                            whose relation
to the debtor(s) is ____________________________,
                    third party                          to purchase the following estate property (NOTE: If real
property, state street address here. Also attach legal description as an Exhibit to the original filed with the court):

Real property located at 1701 SE Oakshore Lane, Milwaukie, Oregon 97267 (See Legal Description below). Buyer will
purchase real property, subject to all liens and interests of any lien holders, and Trustee will transfer all rights, titles, interest
and claims by Trustee's Deed. Debtors have agreed to waive their homestead exemption in exchange for a separate payment
by Buyer.
Legal: Section 11 Township 2s Range 1e Quarter Dd Tax Lot 01400, Clackamas County, Oregon


for the sum of $______________
                     10,000    upon the following terms: Cash, payable upon court approval,.


2. Gross sales price: $________________.
                                 10,000          All liens on the property total: $________________,
                                                                                            n/a          of which the
trustee believes a total of $________________
                                      n/a          need not be paid as secured claims (because the lien is invalid,
avoidable, etc., the lienholder consents to less than full payment, or part or all of the underlying debt is not
allowable). Secured creditor(s) also seek(s) reimbursement of $________________
                                                                           n/a         for fees and costs. Total sales
costs will be: $________________.
                         n/a          All tax consequences have been considered and it presently appears the sale
will result in net proceeds to the estate after payment of valid liens, fees, costs and taxes of approximately:
$________________.
         10,000

3. [If real property] The court appointed real estate broker, ________________________________________,
                                                              n/a
will be paid _______________________________________________________________________________.
             n/a

NOTICE IS GIVEN that the trustee will sell the property, reimburse for any secured creditor's fees and costs, and
compensate any real estate broker upon the above terms and without further notice unless within 23 days of the
Trustee’s date below, the trustee receives a bid exceeding the above offer by at least __________________
                                                                                                      $1,000         (and
upon the same or more favorable terms to the estate), or an interested party both: (1) files a written objection to
the sale, the reimbursement of fees and costs or broker's compensation, setting forth the specific grounds for such
objection, with the Clerk of Court (i.e., if the 5-digit portion of the Case No. begins with "3" or "4", mail to 1001 SW
5th Ave. #700, Portland OR 97204; or, if it begins with "6" or "7", mail to 405 E 8th Ave #2600, Eugene OR 97401),
and (2) serves a copy thereof on the trustee, Peter________________________,
                                                          C. McKittrick              at 515
                                                                                        _________________________
                                                                                            NW Saltzman Rd., PMB #917,
________________________________________________________________________________________.
Portland, OR 97229 or pmckittrick@mckittrickinc.com


If no objection is filed, but the trustee receives any upset bids in the manner required above within 23 days of the
Trustee’s date below, the trustee will notify all persons who have expressed an interest in purchasing the above
property of the date, time and place of a meeting at which the trustee will conduct an auction and sell the property
to the highest bidder without further notice.

FOR FURTHER INFORMATION CONTACT: ____________________________________________________
                                     Peter C. McKittrick at 503-616-4979 or pmckittrick@mckittrickinc.com
________________________________________________________________________________________.

DATE: __________
        05/30/14
                                                                                    /s/ Peter C. McKittrick
                                                                                    _________________________________
                                                                                                        Trustee
760 (7/2/12)



                                 Case 14-32100-rld7             Doc 25       Filed 06/01/14
